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                        IN THE UNITED STATES DISTRICT COURTJ.AM
                       FOR THE EASTERN DISTRICT OF ARKANSABy· E                       K
                                JONESBORO DIVISION          . ·-~if:i:...-n~~I/U~....,.


ANDREA WEST FERGUSON                                                                PLAINTIFF

vs.
                     NO. 3:12-CV-00170-BRW

THE PROASSURANCE INDEMNITY COMPANY, INC.,
ROBERT L. WARNER, JR., M.D.,
SURGICAL ASSOCIATES OF JONESBORO, INC.,
ST. BERNARD'S HOSPITAL INC. D/B/A
ST. BERNARD'S MEDICAL CENTER, and
HEALTHCARE MEDICAL CARE GROUP, INC

                                                                                DEFENDANTS


                               FIRST AMENDED COMPLAINT
                                    (Jury Trial Demanded)

       Come the Plaintiff, Andrea West Ferguson, by and through her attorneys, and for her

cause of action against The ProAssurance Indemnity Company, Inc., Robert L. Warner, Jr.,

M.D., Surgical Associates of Jonesboro, Inc., P.A., St. Bernard's Hospital Inc. d/b/a St.

Bernard's Medical Center, and Healthcare Medical Care Group, Inc. and states as follows:

       1. Plaintiffs cause of action is for medical negligence occurring in Jonesboro, Craighead

County, Arkansas.

       2.    The Plaintiff, Andrea West Ferguson, is a resident of Batesville, Panola County,

Mississippi.

       3.      St. Bernard's Hospital, Inc. d/b/a St. Bernard's Regional Medical Center ("St.

Bernard's") is a hospital operating in Jonesboro, Craighead County, Arkansas.       St. Bernard's

holds itself out to the public as providing competent medical services and through it's for profit

entity, Healthcare Medical Care Group, Inc, operates clinical practices employing physicians that
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provide medical care at St. Bernard's. The ProAssurance Indemnity Company, Inc., is a foreign

corporation which is the liability insurance carrier for St. Bernard's.           The ProAssurance

Indemnity Company, Inc. is sued pursuant to Arkansas' Direct Action law in the alternative in

the event that St. Bernard's claims charitable immunity.

       4.    Defendant, Robert L. Warner, Jr., M.D. is a resident of the State of Arkansas,

practicing at St. Bernard's as a general surgeon.

       5. Upon information and belief Robert L. Warner, Jr., M.D. is an employee of Surgical

Associates of Jonesboro, Inc., which in turn is owned and/or operated by defendant Healthcare

Medical Group, Inc. which in turn is owned and/or operated by St. Bernard's.              Defendants

Surgical Associates of Jonesboro, Inc., and/or Healthcare Medical Group, Inc. and and/or St.

Bernard's are vicariously liable for the acts and omissions of their agent/employee Robert L.

Warner, Jr. M.D.

       6. This Court has jurisdiction of this matter pursuant to 23 USC § 1332 in that the

amount in controversy exceeds Seventy -Five Thousand Dollars ($75,000) exclusive of interest

and costs and complete diversity of citizenship exists in that the Plaintiff is a resident of the State

of Mississippi, Defendant Warner is a resident of the State of Arkansas, and Surgical Associates

of Jonesboro, Inc., St. Bernard's Hospital Inc. d/b/a St. Bernard's Medical Center, and

Healthcare Medical Care Group, Inc are Arkansas corporations and have principal place of

business in the State of Arkansas. The ProAssurance Indemnity Company, Inc. is organized and

has principal place of business in a state other than Mississippi.




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       7. On June 20, 2011, the Plaintiff, Andrea West Ferguson, underwent a laparoscopic

cholecystectomy for the removal of her gall bladder.        During the surgery Defendant Warner

and/or members of the surgical team acting at his direction, misidentified, and then severed the

wrong anatomy in at least three locations and removed a portion of the common bile duct (wrong

duct). Dr. Warner also erroneously transected the Plaintiff's left and right hepatic ducts. Only

the cystic duct that exits the gallbladder is to be transected during this type of gallbladder surgery

and should Dr. Warner have had any question or doubt as to the anatomy the standard of care

required that he convert to an open (non-laparoscopic) procedure before cutting any anatomical

structures. Converting to an open procedure would have prevented the injuries.

       8. Dr. Warner did not recognize the injuries to the common bile duct and the hepatic

ducts, but instead discharged Andrea from the hospital, only for her to return to St. Bernard's

days later, in serious condition. Tests performed on June 24 confirmed that both the right and

left hepatic duct and the common bile duct had erroneously been clipped and transected. The

failure of Defendant Warner to recognize these injuries before finishing the gallbladder surgery

was also beneath the standard of care and resulted in bile leakage, infection, inflammation, and

scarring (adhesions) that caused and/or contributed to additional damage to Andrea West's

biliary system and abdominal/ bowel tract that complicated and compounded the subsequent

repair attempts by Defendant Warner, contributed to the failure of the repair attempts, and will

also expose Andrea to the likelihood of future complications and/or surgeries related to the

adhesions.

        9.    Each transection of each wrong bile duct was below the standard of care for a general

surgeon performing this type of procedure. Once the injuries were identified, rather than refer

Andrea to a specialist in biliary repair, Dr. Warner negligently chose to attempt the repair of the

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bile duct system. The repair surgery was attempted on June 27, 2011. Compounding the initial

negligence and the initial negligent repair attempt, Dr. Warner negligently attempted a second

repair attempt on November 28, 2011.         Dr. Warner later again negligently attempted a third

repair on January 16, 2011.

       10. That each repair attempt compounded the negligence and compounded the injury and

difficulty of the repair. The decision to attempt each of the repairs was ill-advised and negligent

as Dr. Warner was not a hepatico-biliary repair specialist and thus each attempt was likely to fail

and predictably did fail, thereby subjecting Andrea to further damages including pain, suffering,

exposure to further anesthesia , sickness, scarring, inflammation, adhesions, and future loss of

hepatic bile duct length. It is likely the anastomosis of one or more of the hepatic duct(s) to the

bowel loop will fail necessitating future surgery higher on the hepatic duct(s).

       11. That where the hepatic duct exits the liver there is a limited length of duct. Each

repair (past and future) has/will reduce the bile duct length as the repair site (anastomosis) moves

up the hepatic duct towards the liver, thereby increasing the complexity of the repair and

compounding the consequences when/if the repair is not successful.

        12. That defendant Warner was further negligent in failing to advise Andrea and her

family as to his lack of qualification to repair the initial injury, both with the initial repair and as

each additional repair presented additive risks of injury and damage. Instead Dr. Warner assured

Andrea and her family that this was a common complication that he was trained and qualified to

address, thereby misleading her into consenting to the repair procedures that she otherwise would

not have consented to.

        13.   That defendant Warner's negligence consisted of, but was not limited to the

following:

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       (a)      Failing to accurately perform the laparoscopic gallbladder surgery including

                insufficient dissection;

       (b)      Failing to properly identify the biliary anatomy prior to clipping and then cutting

                the common bile duct and both hepatic ducts (three wrong ducts);

       (c)      Failing to perform tests to insure he was properly clipping and then cutting the

                proper anatomy and if in reasonable doubt, failing to            convert to an open

                procedure;

       (d)      Performing "repair" surgery without the informed consent of the patient when

                more experienced biliary surgeons were available and should have been called in

                or the patient transferred since the initial repair attempt is critical to the long-term

                chances of the patient's biliary system;

       (e)      Failing to perform a cholangiogram to ensure proper identification of the

                anatomy;

       (f)      Failing to recognize the three erroneous transections of the wrong anatomy on

                June 20, 2011;

       (g)      Negligently performing multiple "repair" attempts; and,

       (h)      Otherwise failing to provide the degree of skill and learning that a general

                surgeon should provide under same or similar circumstances.

        14. That as a result of the initial injury and the three unsuccessful repair attempts,

Andrea is left with a biliary tract that will always be compromised as it is unlikely to remain

sterile as it will be exposed to food and bacteria from the intestine due to the use of the "bypass"

connecting intestine to intestine. Andrea has also lost the use of the Sphincter of Oddi that

blocks flow from the intestine into the sterile biliary tree.

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        15. That Andrea has become a biliary cripple due to the injury suffered in the initial

laparoscopic gallbladder surgery.         She continues and likely will continue to have adhesions,

stricturing, infection and liver damage (potentially leading to a liver transplant) as result of the

initial injury and the repair attempts.

        16. The numerous operative procedures have resulted in inflammation, infection, and

vast internal and external scarring across and within Andrea's abdomen.        The internal scarring

and/or adhesions will likely cause binding or pulling on her intestines with probable intestinal

blockage requiring medical care and/or surgery even if her latest "repair " holds.              The

anastomosis of each or both hepatic bile duct to the bowel loop is likely to stricture/fail requiring

a "higher" more difficult re-attachment surgery.

        17. That as a result of the external scarring, plastic surgery will be necessary to improve

Andrea's appearance (and her self-concept).

        18. That as a direct and proximate result of the negligence of Defendant Warner, the

Plaintiff, Andrea West Ferguson, claims the following damages:

        (a)     past, present, and future pain and suffering;

        (b)     past, present, and future physical disability;

        (c)     past, present, and future medical, nursing, surgical, hospitalization and
                rehabilitation expenses including but not limited to future surgeries, future
                cosmetic surgery, and future medical care;

        (d)     past, present, and future mental anguish and/or emotional distress;

        (e)     loss of earnings and loss of future earnings capacity;

        (f)     permanent physical injury, consisting of organ damage, hepatic duct injuries,
                adhesions and a diminished life expectancy;

        (g)     permanent scarring; and,


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       (h)     Such other damages as defendant is entitled to claim under Arkansas law.


       19.     Plaintiff claims unliquidated damages in an amount exceeding $75,000.00,

               exclusive of costs and interest, and demand a trial by jury.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiff Andrea West Ferguson

prays for judgment against the defendants, and each of them, jointly and severally, for damages

in an amount exceeding this Court's jurisdictional limits, and for all other relief to which she

may be entitled.



                                                     Respectfully submitted,

                                                     ANDREA WEST FERGUSON

                                              BY:    ~            :=,
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                                     CERTIFICATE OF SERVICE

              I, Lamar Porter, hereby certify that on JanuaryQ)Cf, 2013, the foregoing has been served
      on the following counsel of record by placing a copy of same in the United States mail, properly
      addressed and postage pre-paid.

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